    Case 4:20-cv-01495-MWB-DB Document 44 Filed 10/12/21 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

HOWARD H. WILLIAMS-                            No. 4:20-CV-1495
BEARDEN, et al.,
                                               (Chief Judge Brann)
           Plaintiffs,

     v.

MRS. M. CLOUSER, et al.,

          Defendants.

                                 ORDER

                            OCTOBER 12, 2021

    In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

    1.    The action is DISMISSED pursuant to Federal Rule of Civil
          Procedure 41(b) for failure to prosecute and failure to comply
          with a Court order.

    2.    The Clerk of Court is directed to CLOSE this case.

    3.    Any appeal from this Order is DEEMED frivolous and not
          taken in good faith. 28 U.S.C. § 1915(a)(3).



                                         BY THE COURT:


                                         s/ Matthew W. Brann
                                         Matthew W. Brann
                                         Chief United States District Judge
